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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                               )
             In re:                                                            )   Chapter 11
                                                                               )
             PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                               )
                                       Debtors.                                )   (Jointly Administered)
                                                                               )
                                                                               )   Ref. Docket No. 105
                                                                               )

         CERTIFICATION OF COUNSEL REGARDING ORDER ESTABLISHING BAR DATES
              FOR FILING PROOFS OF CLAIM AND APPROVING THE FORM AND
                            MANNER OF NOTICE THEREOF

                            On August 17, 2023, the above-captioned debtors and debtors in possession

         (together, the “Debtors”) filed the Debtors’ Motion for an Order Establishing Bar Dates for Filing

         Proofs of Claim and Approving the Form and Manner of Notice Thereof [D.I. 105] (the “Motion”)

         with the United States Bankruptcy Court for the District of Delaware (the “Court”). A proposed

         order (the “Proposed Order”) was attached to the Motion as Exhibit A. The deadline to file

         objections or otherwise respond to the Motion was established as August 31, 2023 at 4:00 p.m.

         (ET) (as may have been extended by the Debtors for any party, the “Objection Deadline”).

                            Prior to the Objection Deadline, the Debtors received informal comments from the

         Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”). No other

         formal or informal responses or objections to the Motion were received.

                            Following discussions with the U.S. Trustee, the Debtors have agreed to a revised

         form of order (the “Revised Proposed Order”), a copy of which is attached hereto as Exhibit A,



         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.

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         which resolves the U.S. Trustee’s comments. For the convenience of the Court and other interested

         parties, a blackline comparing the Revised Proposed Order against the Proposed Order is attached

         hereto as Exhibit B.

                        WHEREFORE, as the Debtors did not receive any objections or responses other

         than that described herein, and the U.S. Trustee do not object to entry of the Revised Proposed

         Order, the Debtors respectfully request that the Court enter the Revised Proposed Order without

         further notice or hearing at the Court’s earliest convenience.

                                    [Remainder of page intentionally left blank]




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             Dated: September 5, 2023         Respectfully submitted,
                    Wilmington, Delaware
                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP

                                              /s/ Shella Borovinskaya
                                              Pauline K. Morgan (No. 3650)
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                                              Rodney Square
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                                                      - and -

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                                              WHARTON & GARRISON LLP
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                                              Proposed Counsel to the Debtors and
                                              Debtors in Possession




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                                   EXHIBIT A

                             Revised Proposed Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                  )
                          Debtors.                                )   (Jointly Administered)
                                                                  )
                                                                  )   Re: Docket No. 132

                      ORDER ESTABLISHING BAR DATES FOR
                    FILING PROOFS OF CLAIM AND APPROVING
                   THE FORM AND MANNER OF NOTICE THEREOF

                 Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possessions (together, the “Debtors”), pursuant to sections 501, 502, and 1111(a) of the

Bankruptcy Code, Bankruptcy Rules 2002 and 3003(c)(3), and Local Rule 2002-1(e), for entry

of an order establishing deadlines for filing Proofs of Claim against the Debtors in these chapter

11 cases and approving the form and manner of notice thereof; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012; and it appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b);

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that it may enter a final order consistent with Article III of the United States

Constitution; and due and proper notice of the Motion and the hearing thereon having been given

as set forth in the Motion; and such notice having been adequate and appropriate under the


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
    Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
    Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them in the
    Motion.
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circumstances, and it appearing that no other or further notice need be provided; and this Court

having reviewed the Motion; and this Court having held a hearing to consider the relief requested

in the Motion (the “Hearing”), if any; and upon the First Day Declaration and the record of the

Hearing; and it appearing that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and it appearing that the relief requested in the Motion is in

the best interests of the Debtors, their estates, creditors, and all parties in interest; and after due

deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED as set forth herein.

               2.      Each person or entity, including, without limitation, each individual,

partnership, joint venture, corporation, limited liability company, estate, trust, or governmental

unit (as defined in section 101(27) of the Bankruptcy Code) that holds or asserts a claim, as

defined in section 101(5) of the Bankruptcy Code, against any of the Debtors shall file a separate

Proof of Claim in the bankruptcy case of each Debtor against which a claim is asserted;

provided, however, that the Debtors may agree in writing to permit a claimant to file a Proof of

Claim asserting a claim against more than one Debtor, if such Proof of Claim clearly identifies

the Debtors and liability of each.

               3.      A Proof of Claim shall be filed by the holder of the claim (the “Creditor”)

or an authorized representative of the Creditor. Any Proof of Claim submitted by an authorized

representative of the Creditor shall state the basis for such authorization. Any person seeking to

file a Proof of Claim on behalf of a Creditor without express written authorization shall seek

authorization from this Court prior to the applicable Bar Date.




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               4.      General Bar Date. Except as otherwise provided herein, any person and

entity (excluding any governmental unit) asserting a claim against the Debtors in these chapter

11 cases shall file a completed and executed Proof of Claim, substantially in the form attached to

the Motion as Exhibit C, so that it is received, as provided in paragraphs 8 and 9 below, by KCC

on or before the General Bar Date to be designated by the Debtors, which shall be the date that is

no earlier than the date that is thirty (30) calendar days after the date on which the Debtors

actually serve the Bar Date Notice and Proof of Claim form, which shall be no earlier than the

first business day following the later of (a) the date the Debtors file their schedules of assets and

liabilities and statements of financial affairs (collectively, the “Schedules”) with this Court, and

(b) the date of entry of this Order. The Debtors shall include the designated General Bar Date in

the Bar Date Notice and shall file the Bar Date Notice making the designated General Bar Date a

matter of record. The Debtors are authorized, but not required, to agree, after consultation with

the Official Committee of Unsecured Creditors (the “Committee”), to extend the Bar Date for

any claimant by written stipulation filed with this Court in advance of the General Bar Date.

               5.      Governmental Unit Bar Date. All governmental units (as defined in

section 101(27) of the Bankruptcy Code) asserting claims against one or more of the Debtors

shall file completed and executed Proofs of Claim, substantially in the form attached to the

Motion as Exhibit C, so they are received, as provided in paragraphs 8 and 9 below, by KCC on

or before 4:00 p.m. (prevailing Eastern Time) on February 3, 2024.

               6.      Amended Schedule Bar Date. If, on or after the date on which the

Debtors serve the Bar Date Notice, the Debtors amend or supplement their Schedules to (a)

change the amount, nature, classification, or characterization of a claim, or (b) add a new claim

to the Schedules and the affected claimant does not agree with the amount, nature, classification,



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or characterization of such claim, then the affected claimant shall file a completed and executed

Proof of Claim, substantially in the form attached to the Motion as Exhibit C, or amend any

previously-filed Proof of Claim in respect of the amended scheduled claim in accordance with

the procedures described herein so that it is received, as provided in paragraphs 8 and 9 below,

by KCC on or before the later of (y) the General Bar Date or (z) twenty-one (21) days after the

claimant is served with notice of the applicable amendment or supplement to the Schedules. If

the Debtors amend their Schedules with respect to the claim of a governmental unit, the affected

governmental unit shall be permitted to dispute the amount, nature, classification, or

characterization of the scheduled claim by filing with KCC a completed and executed Proof of

Claim, substantially in the form attached to the Motion as Exhibit C, on or before the later of (a)

the Governmental Unit Bar Date or (b) twenty-one (21) days after the governmental unit is

served with notice of the applicable amendment or supplement to the Schedules.

               7.      Rejection Bar Date.       In the event that the Debtors reject executory

contracts or unexpired leases pursuant to section 365 of the Bankruptcy Code, to the extent filed,

completed and executed Proofs of Claim, substantially in the form attached to the Motion as

Exhibit C, shall be filed in connection with Rejection Damages Claims so that they are received,

as provided in paragraphs 8 and 9 below, by KCC on or before the later of (a) the General Bar

Date or (b) thirty (30) days after the date of service of the Court order authorizing such rejection;

provided, that persons or entities asserting claims with respect to contracts or leases that are not

Rejection Damages Claims must file Proofs of Claim on account of such claims by the General

Bar Date.

               8.      Proofs of Claim must be sent (a) by first-class mail, overnight courier, or

hand-delivery to KCC at Proterra Claims Processing Center, c/o KCC, 222 N. Pacific Coast



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Highway, Suite 300, El Segundo, CA 90245 or (b) electronically by submitting a Proof of Claim

through KCC’s website, www.kccllc.net/proterra.

               9.     Proofs of Claim mailed or delivered to KCC, or submitted electronically

through KCC’s website, will be deemed timely filed only if actually received by KCC on or

before the Bar Date associated with such claim at the address listed in paragraph 8 above.

               10.    Except as set forth in paragraphs 8 and 9 above, KCC shall not accept

Proofs of Claim by facsimile, telecopy, email, or other electronic submission, and Proofs of

Claim submitted by such means shall not be deemed timely filed.

               11.    The following persons or entities are not required to file Proofs of Claim:

                      a)      any person or entity that has already properly filed a Proof of
                              Claim against the correct Debtor(s) with either KCC or the Clerk
                              of the Court for the United States Bankruptcy Court for the District
                              of Delaware;

                      b)      any person or entity: (i) whose claim is listed in the Schedules or
                              any amendments thereto; (ii) whose claim is not described therein
                              as “disputed,” “contingent,” or “unliquidated”; (iii) who does not
                              dispute the amount or characterization of its claim as set forth in
                              the Schedules; and (iv) who agrees that the claim is an obligation
                              of the specific Debtor that listed the claim on its Schedules.

                      c)      professionals retained by the Debtors or the Committee pursuant to
                              orders of this Court that assert administrative claims for fees and
                              expenses subject to this Court’s approval pursuant to sections 330,
                              331, and 503(b) of the Bankruptcy Code;

                      d)      any person or entity that asserts an administrative expense claim
                              against the Debtors pursuant to section 503(b) of the Bankruptcy
                              Code; provided, however, that any person or entity that asserts a
                              claim under section 503(b)(9) of the Bankruptcy Code on account
                              of prepetition goods received by the Debtors within twenty (20)
                              days prior to the Petition Date must file a Proof of Claim on or
                              before the General Bar Date;

                      e)      current officers and directors of the Debtors who assert claims for
                              indemnification and/or contribution arising as a result of such
                              officers’ or directors’ prepetition or post-petition services to the
                              Debtors;

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                         f)       any Debtor asserting a claim against another Debtor;

                         g)       any person or entity whose claim against the Debtor(s) has been
                                  allowed by an order of this Court, entered on or before the Bar
                                  Dates;

                         h)       any person or entity who has been exempted from the requirement
                                  to file a Proof of Claim by another order entered in these chapter
                                  11 cases;

                         i)       any person or entity whose claim has been satisfied in full prior to
                                  the applicable Bar Date;

                         j)       any person or entity holding a claim payable to the Court or to the
                                  Office of the United States Trustee for the District of Delaware
                                  (the “U.S. Trustee”) pursuant to 28 U.S.C. § 1930;

                         k)       any holder of a claim arising under or in connection with the (i)
                                  First Lien Credit Facility (as defined in the First Day Declaration),
                                  provided that the First Lien Agent (as defined in the First Day
                                  Declaration) is authorized to file a single master Proof of Claim by
                                  the General Bar Date with regard to all of the claims thereunder
                                  and (ii) Second Lien Convertible Notes (as defined in the First Day
                                  Declaration), provided that the Second Lien Agent (as defined in
                                  the First Day Declaration) is authorized to file a single master
                                  Proof of Claim by the General Bar Date with regard to all of the
                                  claims thereunder;3

                         l)       any holder of a claim relating to self-funded insurance plans; and

                         m)       any holder of a claim for any fees, expenses, or other obligations
                                  arising under any interim or final order approving the Debtors’ use
                                  of cash collateral or access to postpetition financing (if any).

                 12.     Any Interest Holder, whose interest is based exclusively upon the

ownership of common stock in a corporation or other equity securities (as defined in section

101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell, or subscribe to such a

security or interest (collectively, an “Interest”) need not file a proof of interest on or before the

General Bar Date; provided, that Interest Holders who wish to assert claims against the Debtors


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    For the avoidance of doubt, nothing in the Motion or this Order shall be deemed to allow, or constitute the
    Debtors’ consent to, any portion of any claim, including any premium asserted by the Second Lien Agent or any
    holders of Second Lien Convertible Notes.

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that arise out of or relate to the ownership or purchase of an Interest, including claims arising out

of or relating to the sale, issuance, or distribution of such Interest, must file Proofs of Claim on

or before the General Bar Date, unless one of the exceptions contained in paragraph 11 above

applies.

               13.     Unless otherwise agreed by the Debtors in writing, any entity asserting

claims against more than one Debtor must file a separate Proof of Claim with respect to each

such Debtor on or before the applicable Bar Date. In addition, any entity filing a Proof of Claim

must identify on its Proof of Claim the particular Debtor against which its claim is asserted.

               14.     Notwithstanding anything to the contrary in this Order, the Agents (as

defined in the First Day Declaration) are authorized to file a master Proof of Claim (a “Master

Proof of Claim”) on behalf of itself and any or all holders (each, a “Debt Claim Holder”) of

claims under the applicable funded debt documents (collectively, the “Debt Claims”), provided

that nothing herein shall waive the right of any Prepetition First Lien Secured Party (as defined

in the First Day Declaration) or Prepetition Second Lien Secured Party (as defined in the First

Day Declaration) to file its own Proofs of Claim against the Debtors. Any such Master Proof of

Claim shall have the same effect as if each applicable Debt Claim Holder had individually filed a

Proof of Claim against each applicable Debtor on account of such Debt Claim Holder’s Debt

Claim. The Agents shall further be authorized to amend, supplement, or otherwise modify such

Master Proof of Claim from time to time, to the extent permitted by applicable law. The Agents

shall not be required to file with a Master Proof of Claim any instruments, agreement, or other

documents evidencing the obligations referenced in such Master Proof of Claim, which

instruments, agreements, or other documents will be provided upon written request by counsel to

the Debtors to counsel for each of the Agents. For administrative convenience, any Master Proof


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of Claim authorized herein may be filed in the case of Debtor Proterra Inc, Case No. 23-11120

(BLS) (the “Lead Case”), with respect to all amounts asserted in such Master Proof of Claim,

and such Master Proof of Claim shall be deemed to be filed and asserted by the applicable entity

or entities against every Debtor that is liable for the applicable claim so long as such authorized

Master Proof of Claim sets forth in reasonable detail the basis for such claim and the amount

asserted against each applicable Debtor.       No authorized Master Proof of Claim shall be

disallowed, reduced, or expunged on the basis that it is filed only in the Lead Case. For the

avoidance of doubt, the provisions set forth in this paragraph 14 and any Master Proof of Claim

filed pursuant to the terms hereof are intended solely for the purpose of administrative

convenience and shall not affect the substantive rights of any party in interest or their respective

successors in interest, including, without limitation, the rights of the Agents or any Debt Claim

Holder as holders of a Debt Claim against the Debtors under applicable law, and the numerosity

requirements set forth in section 1126 of the Bankruptcy Code.

               15.     Any person or entity that is required to file a timely Proof of Claim in the

form and manner specified by this Order and who fails to do so on or before the Bar Date

associated with such claim: (a) may be forever barred, estopped, and enjoined from asserting

such claim against the Debtors, their estates, or property of the Debtors, or thereafter filing a

Proof of Claim with respect thereto in these chapter 11 cases, unless otherwise ordered by this

Court; (b) may not, with respect to such claim, be treated as a Creditor of the Debtors for the

purposes of voting upon any plan in these proceedings; and (c) may not receive or be entitled to

receive any payment or distribution of property from the Debtors or their successors or assigns

with respect to such claim, without further order of this Court; provided, however, that a

claimant shall be able to vote upon, and receive distributions under, any plan of reorganization or


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liquidation in the chapter 11 cases to the extent, and in such amount, as any undisputed, non-

contingent, and liquidated claims identified in the Schedules on behalf of the claimant.

               16.    The Bar Date Notice, substantially in the form attached to the Motion as

Exhibit B, and the Proof of Claim form, substantially in the form attached to the Motion as

Exhibit C, are hereby approved in all respects.

               17.    The Bar Date Notice shall be deemed good, adequate, and sufficient notice

of the relief granted by this Order to all known Creditors of the Debtors if it is served, together

with the Proof of Claim form, by first-class U.S. mail, postage prepaid, no later than thirty (30)

days before the General Bar Date, to (a) all persons and entities (and their counsel if known)

known by the Debtors to be holding potential claims or interests in the Debtors, (b) all parties

that have requested notice in these chapter 11 cases, (c) all persons or entities listed in the

Schedules, (d) all parties to executory contracts and unexpired leases with the Debtors, (e) all

parties to litigation with the Debtors, (f) all parties that have already filed a Proof of Claim

against the Debtors, (g) all taxing authorities for the jurisdictions in which the Debtors do

business, (h) all governmental units that may have claims against the Debtors, and (i) the U.S.

Trustee.

               18.    The Debtors shall publish the Publication Notice, substantially in the form

attached to the Motion as Exhibit D, in the national edition of The New York Times, at least once

no later than twenty-one (21) days prior to the General Bar Date, which Publication Notice is

hereby approved in all respects and which shall be deemed good, adequate, and sufficient notice

of the Bar Dates by publication.

               19.    The Debtors are authorized to make supplemental mailings of the Bar

Date Notice and Proof of Claim form, which supplemental mailings being deemed timely and the


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applicable Bar Dates being applicable to the recipient parties in interest, including in the event

that: (a) notices are returned by the post office with forwarding addresses; (b) certain parties

acting on behalf of parties in interest decline to pass along notices to these parties and instead

return their names and addresses to the Debtors for direct mailing, and the Debtors mail notices

to such parties in interest and such parties in interest receive at least twenty-one (21) days’

notice; and (c) there are additional potential claimants and such claimants receive at least twenty-

one (21) days’ notice; provided, that to the extent any notices are returned as “return to sender”

without a forwarding address, the Debtors are not required to mail additional notices to such

parties in interest if (i) such party in interest is not a “Schedule D” or Schedule E/F” claimant or

(ii) after conducting a reasonable search for a new address, the Debtors are unable to locate such

new address.

                20.    Notwithstanding anything in this Order, nothing herein shall prejudice any

entity from seeking to extend the time to file a Proof of Claim “for cause shown” under

Bankruptcy Rule 3003(c)(3) or raising the defense of “excusable neglect” within the meaning of

Bankruptcy Rule 9006(b).

                21.    Nothing in this Order shall prejudice the right of the Debtors or any other

party in interest herein to dispute, or to assert offsets or defenses to, any claim reflected in the

Schedules as to amount, liability, characterization, or otherwise, and to subsequently designate

any claim as disputed, contingent, or unliquidated.

                22.    The Debtors are authorized to make non-substantive changes to the

exhibits to the Motion without further order of this Court, including without limitation, changes

to (a) correct typographical and grammatical errors, (b) update references to cited pleadings and




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orders, and (c) conform changes among this Order, the exhibits, and any other related materials

prior to their mailing to parties in interest.

                23.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

                24.     This Court retains jurisdiction with respect to all matters arising from or

related to the interpretation, implementation, and enforcement of this Order.




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                      EXHIBIT B

                     Bar Date Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                  )
                          Debtors.                                )   (Jointly Administered)
                                                                  )
                                                                  )   Re: Docket No. __

                          NOTICE OF ENTRY OF BAR
                         DATE ORDER ESTABLISHING
                       DEADLINES FOR FILING PROOFS
          OF CLAIM (INCLUDING FOR CLAIMS ASSERTED UNDER
    SECTION 503(b)(9) OF THE BANKRUPTCY CODE) AGAINST THE DEBTORS

TO:      ALL HOLDERS OF POTENTIAL CLAIMS AGAINST THE DEBTORS

PLEASE TAKE NOTICE THAT:

               On August 7, 2023 (the “Petition Date”), the above-captioned debtors and debtors
in possession (together, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Court”).

               Please take further notice that on [●], 2023, the Court entered an order (the “Bar
               2
Date Order”) establishing deadlines to file proofs of claim for all potential claims (as defined
below), including claims arising pursuant to section 503(b)(9) (each, a “503(b)(9) Claim”) of the
Bankruptcy Code against the Debtors that arose prior to the Petition Date.

                                      Bar Dates
General Bar Date           [●], 2023 at 4:00 p.m. (prevailing Eastern Time)
Governmental Unit Bar Date February 3, 2024 at 4:00 p.m. (prevailing Eastern Time)
Amended Schedules Bar the later of (y) the General Bar Date or (z) twenty-one (21)
Date                       days after the claimant is served with notice of the applicable
                           amendment or supplement to the Schedules
Rejection Bar Date         the later of (a) the General Bar Date or (b) thirty (30) days
                           after the date of service of the Court order authorizing such

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
    Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
    Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them below
    or in the Bar Date Order.
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                     rejection
           ANY PERSON OR ENTITY THAT IS REQUIRED TO FILE A TIMELY
PROOF OF CLAIM IN THE FORM AND MANNER SPECIFIED BY THE BAR DATE
ORDER AND WHO FAILS TO DO SO ON OR BEFORE THE APPLICABLE BAR
DATE: (A) SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH CLAIM AGAINST THE DEBTORS, THEIR ESTATES, OR
PROPERTY OF THE DEBTORS, OR THEREAFTER FILING A PROOF OF CLAIM
WITH RESPECT THERETO IN THE CHAPTER 11 CASES; (B) SHALL NOT, WITH
RESPECT TO SUCH CLAIM, BE TREATED AS A CREDITOR OF THE DEBTORS
FOR THE PURPOSES OF VOTING UPON ANY PLAN OF REORGANIZATION OR
LIQUIDATION IN THESE PROCEEDINGS; AND (C) SHALL NOT RECEIVE OR BE
ENTITLED TO RECEIVE ANY PAYMENT OR DISTRIBUTION OF PROPERTY
FROM THE DEBTORS OR THEIR SUCCESSORS OR ASSIGNS WITH RESPECT TO
SUCH CLAIM; PROVIDED, HOWEVER, THAT A CLAIMANT SHALL BE ABLE TO
VOTE UPON, AND RECEIVE DISTRIBUTIONS UNDER, ANY PLAN OF
REORGANIZATION OR LIQUIDATION IN THESE CHAPTER 11 CASES TO THE
EXTENT, AND IN SUCH AMOUNT, AS ANY UNDISPUTED, NON-CONTINGENT,
AND LIQUIDATED CLAIMS IDENTIFIED IN THE SCHEDULES ON BEHALF OF
THE CLAIMANT.

                You should not file a Proof of Claim if you do not have a claim against the
Debtors. Your receipt of this notice (this “Notice”) does not necessarily mean that you have a
claim or that either the Debtors or the Court believe you have a claim.

                Pursuant to the terms of the Bar Date Order, and except as otherwise provided
herein, each person or entity3 (including, without limitation, each individual, partnership, joint
venture, corporation, limited liability company, estate, trust, or Governmental Unit4) that holds
or asserts a claim against one or more of the Debtors (including 503(b)(9) Claims) must file a
Proof of Claim with an original signature, substantially conforming to the proof of claim form
attached hereto, so that it is actually received by Kurtzman Carson Consultants LLC (“KCC”),
the Court-approved claims and noticing agent in these chapter 11 cases, on or before the Bar
Dates set forth below. Proofs of Claim must be sent by first-class mail, overnight courier, or
hand-delivery to:

                                  Proterra Claims Processing Center
                                                c/o KCC
                                222 N. Pacific Coast Highway, Suite 300
                                        El Segundo, CA 90245

                Alternatively, Proofs of Claim may be submitted electronically through the
electronic filing system available at www.kccllc.net/proterra.




3
    “Entity” has the meaning given to it in section 101(15) of the Bankruptcy Code.
4
    “Governmental Unit” has the meaning given to it in section 101(27) of the Bankruptcy Code.

                                                        2
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               To be properly filed, a Proof of Claim must be filed against the specific Debtor
against which the claimant holds or asserts a claim. For example, if a claimant holds or asserts a
claim against Proterra Inc, the Proof of Claim must specify Proterra Inc. If a claimant wishes to
assert a claim against both Debtors, separate Proofs of Claim must be filed against each
applicable Debtor.

                Proofs of Claim will be deemed timely filed only if actually received by KCC on
or before the Bar Date associated with such claim. Further, except with respect to the electronic
filing system described above, KCC will not accept Proofs of Claim sent by facsimile, telecopy,
email, or other electronic submission, and such claims will not be deemed to be properly or
timely filed claims.

              General Bar Date. Except as otherwise provided herein, each person or
entity holding or asserting a claim (including a 503(b)(9) Claim) against the Debtors that
arose prior to the Petition Date must file a Proof of Claim so that it is actually received by
KCC on or before [●], 2023 at 4:00 p.m. (prevailing Eastern Time) (the “General Bar
Date”).

               Governmental Unit Bar Date. Each governmental unit holding or asserting a
claim against the Debtors that arose prior to the Petition Date must file a Proof of Claim so
that it is actually received by KCC on or before February 3, 2024 at 4:00 p.m. (prevailing
Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date,
the “Bar Dates”).

                Amended Schedules Bar Date. If, on or after the date on which the Debtors serve
this Notice, the Debtors amend or supplement their schedules of assets and liabilities or
statements of financial affairs (collectively, the “Schedules”) (a) to change the amount, nature,
classification, or characterization of a claim, or (b) to add a new claim to the Schedules and the
affected claimant does not agree with the amount, nature, classification, or characterization of
such claim, the affected claimant is required to file a Proof of Claim or amend any previously
filed Proof of Claim in respect of the amended scheduled claim so that the Proof of Claim is
actually received by KCC on or before the later of (y) the General Bar Date or (z) twenty-one
(21) days after the claimant is served with notice of the applicable amendment or supplement to
the Schedules.

                Rejection Bar Date. A Proof of Claim relating to the Debtors’ rejection of an
executory contract or unexpired lease pursuant to a Court order must be filed so that it is actually
received by KCC on or before the later of (a) the General Bar Date or (b) thirty (30) days after
the date of service of the Court order authorizing such rejection.

               For purposes of the Bar Date Order and this Notice, and pursuant to section
101(5) of the Bankruptcy Code, the term “claim” means: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, or unsecured as of the Petition Date.

                                                 3
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               For purposes of the Bar Date Order and this Notice, a “503(b)(9) Claim” is a
claim for the value of any goods received by the Debtors within twenty (20) days prior to the
Petition Date in which the goods have been sold to the Debtors in the ordinary course of the
Debtors’ business.

              The following persons and entities need NOT file a Proof of Claim:

              a)     any person or entity that has already properly filed a Proof of Claim
                     against the correct Debtor(s) with either KCC or the Clerk of the Court for
                     the United States Bankruptcy Court for the District of Delaware;

              b)     any person or entity (i) whose claim is listed in the Schedules or any
                     amendments thereto; (ii) whose claim is not described therein as
                     “disputed,” “contingent,” or “unliquidated”; (iii) who does not dispute the
                     amount or characterization of its claim as set forth in the Schedules; and
                     (iv) who agrees that the claim is an obligation of the specific Debtor that
                     listed the claim on its Schedules;

              c)     professionals retained by the Debtors or the Committee pursuant to orders
                     of this Court that assert administrative claims for fees and expenses
                     subject to this Court’s approval pursuant to sections 330, 331, and 503(b)
                     of the Bankruptcy Code;

              d)     any person or entity that asserts an administrative expense claim against
                     the Debtors pursuant to section 503(b) of the Bankruptcy Code; provided,
                     however, that any person or entity that has a claim under section 503(b)(9)
                     of the Bankruptcy Code on account of prepetition goods received by the
                     Debtors within twenty (20) days prior to the Petition Date must file a
                     Proof of Claim on or before the General Bar Date;

              e)     current officers and directors of the Debtors who assert claims for
                     indemnification and/or contribution arising as a result of such officers’ or
                     directors’ prepetition or post-petition services to the Debtors;

              f)     any Debtor asserting a claim against another Debtor;

              g)     any person or entity whose claim against the Debtor(s) has been allowed
                     by an order of the Court, entered on or before the Bar Dates;

              h)     any person or entity who has been exempted from the requirement to file a
                     proof of claim by another order entered in the chapter 11 cases;

              i)     any person or entity whose claim has been satisfied in full prior to the
                     applicable Bar Date;

              j)     any person or entity holding a claim payable to the Office of the United
                     States Trustee for the District of Delaware pursuant to 28 U.S.C. § 1930;


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                 k)      any holder of a claim arising under or in connection with the (i) First Lien
                         Credit Facility (as defined in the First Day Declaration), provided that the
                         First Lien Agent (as defined in the First Day Declaration) is authorized to
                         file a single master Proof of Claim by the General Bar Date with regard to
                         all of the claims thereunder and (ii) Second Lien Convertible Notes (as
                         defined in the First Day Declaration), provided that the Second Lien
                         Agent (as defined in the First Day Declaration) is authorized to file a
                         single master Proof of Claim by the General Bar Date with regard to all of
                         the claims thereunder;5

                 l)      any holder of a claim relating to self-funded insurance plans; and

                 m)      any holder of a claim for any fees, expenses, or other obligations arising
                         under any interim or final order approving the Debtors’ use of cash
                         collateral or access to postpetition financing (if any).

                Any person or entity (including, without limitation, any individual, partnership,
joint venture, corporation, limited liability company, estate, trust, or governmental unit) holding
an interest in the Debtors (an “Interest Holder”), which interest is based exclusively upon the
ownership of common or preferred stock in the corporation or other equity security (as defined in
section 101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell, or subscribe to
such a security (any such security being referred to in this Notice as an “Interest”) need not file a
proof of interest on or before the General Bar Date; provided, however, that Interest Holders who
wish to assert claims against the Debtors that arise out of or relate to the ownership or purchase
of an Interest, including claims arising out of or relating to the sale, issuance, or distribution of
such Interest, must file Proofs of Claim on or before the General Bar Date (or, in the case of a
governmental unit, the Governmental Bar Date), unless another exception identified in the Bar
Date Order applies.

                The Debtors reserve the right to: (a) dispute or assert offsets or defenses against
any claim filed or any claim listed or reflected in the Schedules as to nature, amount, liability,
classification, or otherwise; and (b) subsequently designate any claim as disputed, contingent, or
unliquidated. Nothing contained in this Notice shall preclude the Debtors from objecting to any
claim on any grounds.

               Acts or omissions of the Debtors, if any, that occurred prior to the Petition Date,
including acts or omissions related to any indemnity agreements, guarantees, or services
provided to or rendered by the Debtors, may give rise to claims against the Debtors
notwithstanding that such claims (or any injuries on which they are based) may be contingent or
may not have matured or become fixed or liquidated prior to the Petition Date. Therefore, any
person or entity that holds or asserts a claim or a potential claim against the Debtors, no matter
how remote or contingent, must file a Proof of Claim on or before the applicable Bar Date.


5
    For the avoidance of doubt, nothing in the Bar Date Order shall be deemed to allow, or constitute the Debtors’
    consent to, any position of any claim, including any premium asserted by the Second Lien Agent or any holders
    of Second Lien Convertible Notes.

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                You may be listed as the holder of a claim against the Debtors in the Schedules,
as the same may be amended from time to time. If you hold or assert a claim that is not listed in
the Schedules or if you disagree with the amount or priority of your claim as listed in the
Schedules, or your claim is listed in the Schedules as “contingent,” “unliquidated,” or
“disputed,” you must file a Proof of Claim. Copies of the Schedules and the Bar Date Order are
available for inspection during regular business hours at the office of the Clerk of the Bankruptcy
Court, United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market
Street, Wilmington, Delaware 19801. In addition, copies of the Debtors’ Schedules and Bar
Date Order may be viewed and downloaded free of charge at KCC’s dedicated website for the
Debtors’ chapter 11 cases (www.kccllc.net/proterra); or viewed and downloaded for a fee at the
Bankruptcy Court’s website (http://www.deb.uscourts.gov/) by following the directions for
accessing the ECF system on such website.


                           [Remainder of page intentionally left blank]




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               Questions concerning the contents of this Notice, the Bar Date Order, and
requests for Proofs of Claim should be directed to KCC’s toll-free lines at 888-251-3076 (USA
or Canada); 310-751-2617 (International), or by submitting an inquiry at
www.kccllc.net/proterra/inquiry. Please note that KCC’s staff is not permitted to give legal
advice. You should consult your own attorney for assistance regarding any other inquiries, such
as questions concerning the completion or filing of a Proof of Claim. Nothing contained in this
Notice shall preclude the Debtors from objecting to any filed claim on any grounds.

Dated: [•], 2023                         Respectfully submitted,
       Wilmington, Delaware
                                         YOUNG CONAWAY STARGATT &
                                         TAYLOR, LLP

                                         /s/ [DRAFT]
                                         Pauline K. Morgan (No. 3650)
                                         Andrew L. Magaziner (No. 5426)
                                         Shella Borovinskaya (No. 6758)
                                         Rodney Square
                                         1000 North King Street
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 571-6600
                                         Facsimile: (302) 571-1253
                                         Email: pmorgan@ycst.com
                                                 amagaziner@ycst.com
                                                 sborovinskaya@ycst.com

                                                   - and -

                                        PAUL, WEISS, RIFKIND,
                                        WHARTON & GARRISON LLP
                                        Paul M. Basta (admitted pro hac vice)
                                        Robert A. Britton (admitted pro hac vice)
                                        Michael J. Colarossi (admitted pro hac vice)
                                        1285 Avenue of the Americas
                                        New York, New York 10019
                                        Tel: (212) 373-3000
                                        Fax: (212) 757-3990
                                               Email: pbasta@paulweiss.com
                                                       rbritton@paulweiss.com
                                                       mcolarossi@paulweiss.com

                                         [Proposed] Counsel to the Debtors and
                                         Debtors in Possession




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                       EXHIBIT C

                    Proof of Claim Form
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                                    Your claim can be filed electronically on KCC’s website at https://www.kccllc.net/proterra




                                                           United States Bankruptcy Court for the District of Delaware

                    Indicate Debtor against which you assert a claim by checking the appropriate box below. (Check only one Debtor per claim form.)

                       ☐ Proterra Inc (Case No. 23-11120)                           ☐ Proterra Operating Company, Inc. (Case No. 23-11121)




Official Form 410
Proof of Claim                                                                                                                                                             04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Other than a claim under
11 U.S.C. § 503(b)(9), this form should not be used to make a claim for an administrative expense arising after the commencement of the case.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed.

   Part 1:   Identify the Claim

  1. Who is the current
     creditor?
                                  Name of the current creditor (the person or entity to be paid for this claim)

                                  Other names the creditor used with the debtor


  2. Has this claim been                 No
     acquired from
     someone else?                       Yes.     From whom?

  3. Where should                 Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
     notices and                                                                                                  different)
     payments to the
     creditor be sent?
                                  Name                                                                            Name

      Federal Rule of             Number          Street                                                          Number          Street
      Bankruptcy Procedure
      (FRBP) 2002(g)
                                  City                                State                 ZIP Code              City                                State                ZIP Code


                                  Country                                                                         Country

                                  Contact phone                                                                   Contact phone

                                  Contact email                                                                   Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                  ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


  4. Does this claim                     No
     amend one already
     filed?                              Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                        MM    /   DD   /   YYYY

  5. Do you know if                      No
     anyone else has filed
     a proof of claim for                Yes. Who made the earlier filing?
     this claim?


   Official Form 410                                                            Proof of Claim
                                                                                   page 1
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number             No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?
                                 $                                            . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim        No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature of property:

                                                  Real estate: If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a          No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a        No
    right of setoff?
                                      Yes. Identify the property:




Official Form 410                                                    Proof of Claim
                                                                        page 2
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12. Is all or part of the claim              No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                            Amount entitled to priority

    A claim may be partly                         Domestic support obligations (including alimony and child support) under
    priority and partly                           11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                     $
    in some categories, the                       Up to $3,350* of deposits toward purchase, lease, or rental of property or
    law limits the amount                         services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                         $
    entitled to priority.
                                                  Wages, salaries, or commissions (up to $15,150*) earned within 180
                                                  days before the bankruptcy petition is filed or the debtor’s business ends,                     $
                                                  whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                  Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                           $

                                                  Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                               $

                                                  Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                               $

                                             * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim              No
    entitled to administrative
    priority pursuant to 11                  Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
    U.S.C. § 503(b)(9)?                      days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                          I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date
3571.                                                            MM / DD / YYYY




                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name
                                                          First name                              Middle name                            Last name

                                  Title


                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                          Number              Street


                                                          City                                               State                      ZIP Code              Country

                                  Contact phone                                                                                 Email

Official Form 410                                                            Proof of Claim
                                                                                page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                     12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors do
not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.

      A person who files a fraudulent claim could be fined up to     PLEASE SEND COMPLETED PROOF(S) OF CLAIM
      $500,000, imprisoned for up to 5 years, or both.
                                                                     TO:
      18 U.S.C. §§ 152, 157 and 3571
                                                                     Proterra Claims Processing Center
                                                                     c/o KCC
                                                                     222 N. Pacific Coast Hwy., Ste. 300
 How to fill out this form                                           El Segundo, CA 90245

      Fill in all of the information about the claim as of the
      date the case was filed.                                       Alternatively, your claim can be filed electronically on KCC’s
                                                                     website at https://www.kccllc.net/proterra.
      Fill in the caption at the top of the form



      If the claim has been acquired from someone else,
      then state the identity of the last party who owned                A Proof of Claim form and any attached documents
      the claim or was the holder of the claim and who                   must show only the last 4 digits of any social security
      transferred it to you before the initial claim was filed.          number, individual’s tax identification number, or
                                                                         financial account number, and only the year of any
                                                                         person’s date of birth. See Bankruptcy Rule 9037.
      Attach any supporting documents to this form.
      Attach redacted copies of any documents that show that
      the debt exists, a lien secures the debt, or both. (See            For a minor child, fill in only the child’s initials and the
      the definition of redaction on the next page.)                     full name and address of the child’s parent or guardian.
                                                                         For example, write A.B., a minor child (John Doe, parent, 123
      Also attach redacted copies of any documents that show             Main St., City, State). See Bankruptcy Rule 9037.
      perfection of any security interest or any assignments or
      transfers of the debt. In addition to the documents, a
      summary may be added. Federal Rule of Bankruptcy
      Procedure (called “Bankruptcy Rule”) 3001(c) and (d).          Confirmation that the claim has been filed

                                                                     To receive confirmation that the claim has been filed, either
      Do not attach original documents because                       enclose a stamped self-addressed envelope and a copy of this
      attachments may be destroyed after scanning.                   form or you may view a list of filed claims in this case by
                                                                     visiting the Claims and Noticing and Agent’s website at
                                                                     http://www.kccllc.net/proterra.
      If the claim is based on delivery health care goods
      or services, do not disclose confidential health care
      information. Leave out or redact confidential                  Understand the terms used in this form
      information both in the claim and in the attached              Administrative expense: Generally, an expense that arises
      documents.
                                                                     after a bankruptcy case is filed in connection with operating,
                                                                     liquidating, or distributing that bankruptcy estate.
                                                                     11 U.S.C. § 503


                                                                     Claim: A creditor’s right to receive payment for a debt that the
                                                                     debtor owed on the date the debtor filed for bankruptcy. 11
                                                                     U.S.C. §101 (5). A claim may be secured or unsecured.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising            Secured claim under 11 U.S.C. §506(a): A claim backed by a
from the value of any goods received by the Debtor within          lien on particular property of the debtor. A claim is secured to
20 days before the date of commencement of the above               the extent that a creditor has the right to be paid from the
case, in which the goods have been sold to the Debtor in           property before other creditors are paid. The amount of a
the ordinary course of the Debtor’s business. Attach               secured claim usually cannot be more than the value of the
documentation supporting such claim.                               particular property on which the creditor has a lien. Any
                                                                   amount owed to a creditor that is more than the value of the
                                                                   property normally may be an unsecured claim. But exceptions
Creditor: A person, corporation, or other entity to whom a         exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor owes a debt that was incurred on or before the date         sentence of 1325(a).
the debtor filed for bankruptcy. 11 U.S.C. §101 (10).              Examples of liens on property include a mortgage on real estate
                                                                   a security interest in a car. A lien may be voluntarily granted
                                                                   by a debtor or may be obtained through a court proceeding. In
Debtor: A person, corporation, or other entity to who is in        states, a court judgment may be a lien.
bankruptcy. Use the debtor’s name and case number as
shown in the bankruptcy notice you received.
11 U.S.C. §101 (13).
                                                                   Setoff: Occurs when a creditor pays itself with money
                                                                   belonging to the debtor that it is holding, or by canceling a debt
                                                                   it owes to the debtor.
Evidence of perfection: Evidence of perfection of a
security interest may include documents showing that a
security interest has been filed or recorded, such as a            Uniform claim identifier: An optional 24-character identifier
mortgage, lien, certificate of title, or financing statement.      that some creditors use to facilitate electronic payment.


Information that is entitled to privacy: A Proof of Claim
                                                                   Unsecured claim: A claim that does not meet the requirements
form and any attached documents must show only the last
                                                                   of a secured claim. A claim may be unsecured in part to the
4 digits of any social security number, an individual’s tax        extent that the amount of the claim is more than the value of
identification number, or a financial account number, only         the property on which a creditor has a lien.
the initials of a minor’s name, and only the year of any
person’s date of birth. If a claim is based on delivering
health care goods or services, limit the disclosure of the
goods or services to avoid embarrassment or disclosure of          Offers to purchase a claim
confidential health care information. You may later be             Certain entities purchase claims for an amount that is less than
required to give more information if the trustee or someone        the face value of the claims. These entities may contact
else in interest objects to the claim.                             creditors offering to purchase their claims. Some written
                                                                   communications from these entities may easily be confused
                                                                   with official court documentation or communications from the
Priority claim: A claim within a category of unsecured             debtor. These entities do not represent the bankruptcy court, the
claims that is entitled to priority under 11 U.S.C. §507(a).       bankruptcy trustee, or the debtor. A creditor has no obligation
These claims are paid from the available money or                  to sell its claim. However, if a creditor decides to sell its claim,
property in a bankruptcy case before other unsecured               any transfer of that claim is subject to Bankruptcy Rule
claims are paid. Common priority unsecured claims                  3001(e), any provisions of the Bankruptcy Code (11 U.S.C. §
include alimony, child support, taxes, and certain unpaid          101 et seq.) that apply, and any orders of the bankruptcy court
wages.                                                             that apply.


Proof of claim: A form that shows the amount of debt the
debtor owed to a creditor on the date of the bankruptcy
filing. The form must be filed in the district where the case
is pending.


Redaction of information: Masking, editing out, or
deleting certain information to protect privacy. Filers must
redact or leave out information entitled to privacy on the
Proof of Claim form and any attached documents.

Do not file these instructions with your form.
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                      EXHIBIT D

                    Publication Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            ) Chapter 11
                                                                  )
PROTERRA INC, et al.,1                                            ) Case No. 23-11120 (BLS)
                                                                  )
                          Debtors.                                ) (Jointly Administered)
                                                                  )
                                                                  )

                          NOTICE OF ENTRY OF BAR
                         DATE ORDER ESTABLISHING
                       DEADLINES FOR FILING PROOFS
          OF CLAIM (INCLUDING FOR CLAIMS ASSERTED UNDER
    SECTION 503(b)(9) OF THE BANKRUPTCY CODE) AGAINST THE DEBTORS

PLEASE TAKE NOTICE THAT:

               On August 7, 2023 (the “Petition Date”), the above-captioned debtors and debtors
in possession (together, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Court”).

               Please take further notice that on [●], 2023, the Court entered an order (the “Bar
Date Order”)2 establishing deadlines to file proofs of claim for all potential claims (as defined
below), including claims arising pursuant to section 503(b)(9) (each, a “503(b)(9) Claim”) of the
Bankruptcy Code against the Debtors that arose prior to the Petition Date.

                                      Bar Dates
General Bar Date           [●], 2023 at 4:00 p.m. (prevailing Eastern Time)
Governmental Unit Bar Date February 3, 2024 at 4:00 p.m. (prevailing Eastern Time)
Amended Schedules Bar the later of (y) the General Bar Date or (z) twenty-one (21)
Date                       days after the claimant is served with notice of the applicable
                           amendment or supplement to the Schedules
Rejection Bar Date         the later of (a) the General Bar Date or (b) thirty (30) days
                           after the date of service of the Court order authorizing such
                           rejection



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
    Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
    Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them below
    or in the Bar Date Order.
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           ANY PERSON OR ENTITY THAT IS REQUIRED TO FILE A TIMELY
PROOF OF CLAIM IN THE FORM AND MANNER SPECIFIED BY THE BAR DATE
ORDER AND WHO FAILS TO DO SO ON OR BEFORE THE APPLICABLE BAR
DATE: (A) SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH CLAIM AGAINST THE DEBTORS, THEIR ESTATES, OR
PROPERTY OF THE DEBTORS, OR THEREAFTER FILING A PROOF OF CLAIM
WITH RESPECT THERETO IN THE CHAPTER 11 CASES; (B) SHALL NOT, WITH
RESPECT TO SUCH CLAIM, BE TREATED AS A CREDITOR OF THE DEBTORS
FOR THE PURPOSES OF VOTING UPON ANY PLAN OF REORGANIZATION OR
LIQUIDATION IN THESE PROCEEDINGS; AND (C) SHALL NOT RECEIVE OR BE
ENTITLED TO RECEIVE ANY PAYMENT OR DISTRIBUTION OF PROPERTY
FROM THE DEBTORS OR THEIR SUCCESSORS OR ASSIGNS WITH RESPECT TO
SUCH CLAIM; PROVIDED, HOWEVER, THAT A CLAIMANT SHALL BE ABLE TO
VOTE UPON, AND RECEIVE DISTRIBUTIONS UNDER, ANY PLAN OF
REORGANIZATION OR LIQUIDATION IN THESE CHAPTER 11 CASES TO THE
EXTENT, AND IN SUCH AMOUNT, AS ANY UNDISPUTED, NON-CONTINGENT,
AND LIQUIDATED CLAIMS IDENTIFIED IN THE SCHEDULES ON BEHALF OF
THE CLAIMANT.

               Pursuant to the terms of the Bar Date Order, and except as otherwise provided
herein, each person or entity that holds or asserts a claim against the Debtors (including claims
arising under section 503(b)(9) of the Bankruptcy Code) must file a Proof of Claim with original
signature, substantially conforming to the proof of claim form available on
www.kccllc.net/proterra, so that it is actually received by Kurtzman Carson Consultants LLC
(“KCC”), the Court-approved claims and noticing agent in these chapter 11 cases, on or before
the Bar Dates set forth below. Proofs of Claim must be sent by first-class mail, overnight
courier, or hand-delivery to:

                             Proterra Claims Processing Center
                                           c/o KCC
                           222 N. Pacific Coast Highway, Suite 300
                                   El Segundo, CA 90245

                Alternatively, Proofs of Claim may be submitted electronically through the
electronic filing system available at www.kccllc.net/proterra.

                To be properly filed, a Proof of Claim must be filed against the specific Debtor
against which the claimant holds or asserts a claim. For example, if a claimant holds or asserts a
claim against Proterra Inc), the Proof of Claim must specify Proterra Inc. If a claimant wishes to
assert a claim against more than one Debtor, separate Proofs of Claim must be filed against each
applicable Debtor.

                Proofs of claim will be deemed timely filed only if actually received by KCC on
or before the Bar Date associated with such claim. Further, except with respect to the electronic
filing system described above, KCC will not accept Proofs of Claim sent by facsimile, telecopy,
email, or other electronic submission, and such claims will not be deemed to be properly or
timely filed claims.

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              General Bar Date. Except as otherwise provided herein, each person or
entity holding or asserting a claim (including a 503(b)(9) Claim) against the Debtors that
arose prior to the Petition Date must file a Proof of Claim so that it is actually received by
KCC on or before [●], 2023 at 4:00 p.m. (prevailing Eastern Time) (the “General Bar
Date”).

               Governmental Unit Bar Date. Each governmental unit holding or asserting a
claim against the Debtors that arose prior to the Petition Date must file a Proof of Claim so
that it is actually received by KCC on or before February 3, 2024 at 4:00 p.m. (prevailing
Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date,
the “Bar Dates”).

                Amended Schedules Bar Date. If, on or after the date on which the Debtors serve
this notice (this “Notice”), the Debtors amend or supplement their schedules of assets and
liabilities or statements of financial affairs (collectively, the “Schedules”) (a) to change the
amount, nature, classification, or characterization of a claim, or (b) to add a new claim to the
Schedules and the affected claimant does not agree with the amount, nature, classification, or
characterization of such claim, the affected claimant is required to file a Proof of Claim or amend
any previously filed Proof of Claim in respect of the amended scheduled claim so that the Proof
of Claim is actually received by KCC on or before the later of (y) the General Bar Date or (z)
twenty-one (21) days after the claimant is served with notice of the applicable amendment or
supplement to the Schedules.

                Rejection Bar Date. A Proof of Claim relating to the Debtors’ rejection of an
executory contract or unexpired lease pursuant to a Court order must be filed so that it is actually
received by KCC on or before the later of (a) the General Bar Date or (b) thirty (30) days after
the date of service of the Court order authorizing such rejection.

               For purposes of the Bar Date Order and this Notice, and pursuant to section
101(5) of the Bankruptcy Code, the term “claim” means: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, or unsecured as of the Petition Date.
Further, a “503(b)(9) Claim” is a claim for the value of any goods received by the Debtors within
twenty (20) days prior to the Petition Date in which the goods have been sold to the Debtors in
the ordinary course of the Debtors’ business.

                Any person or entity (including, without limitation, any individual, partnership,
joint venture, corporation, limited liability company, estate, trust, or governmental unit) holding
an interest in the Debtors (an “Interest Holder”), which interest is based exclusively upon the
ownership of common or preferred stock in the corporation or other equity security (as defined in
section 101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell or subscribe to
such a security (any such security being referred to in this Notice as an “Interest”), need not file a
proof of interest on or before the General Bar Date; provided, however, that Interest Holders who
wish to assert claims against the Debtors that arise out of or relate to the ownership or purchase

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of an Interest, including claims arising out of or relating to the sale, issuance, or distribution of
such Interest, must file Proofs of Claim on or before the General Bar Date (or, in the case of a
governmental unit, the Governmental Bar Date), unless another exception identified in the Bar
Date Order applies.

              Acts or omissions of the Debtors, if any, that occurred prior to the Petition Date,
including acts or omissions related to any indemnity agreements, guarantees, or services
provided to or rendered by the Debtors, may give rise to claims against the Debtors
notwithstanding the fact that such claims (or any injuries on which they are based) may be
contingent or may not have matured or become fixed or liquidated prior to the Petition Date.
Therefore, any person or entity that holds or asserts a claim or a potential claim against the
Debtors, no matter how remote or contingent, must file a Proof of Claim on or before the
General Bar Date.

               Questions concerning the contents of this Notice, the Bar Date Order, and
requests for Proofs of Claim should be directed to KCC’s toll-free lines at 888-251-3076 (USA
or Canada); 310-751-2617 (International), or by submitting an inquiry at
www.kccllc.net/proterra/inquiry. Please note that KCC’s staff is not permitted to give legal
advice. You should consult your own attorney for assistance regarding any other inquiries, such
as questions concerning the completion or filing of a Proof of Claim. Nothing contained in this
Notice shall preclude the Debtors from objecting to any filed claim on any grounds.




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Dated: [•], 2023                 Respectfully submitted,
       Wilmington, Delaware
                                 YOUNG CONAWAY STARGATT &
                                 TAYLOR, LLP

                                 /s/ [DRAFT]
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                                 Andrew L. Magaziner (No. 5426)
                                 Shella Borovinskaya (No. 6758)
                                 Rodney Square
                                 1000 North King Street
                                 Wilmington, Delaware 19801
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                                             - and -

                                 PAUL, WEISS, RIFKIND,
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                                 [Proposed] Counsel to the Debtors and
                                 Debtors in Possession




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                                   EXHIBIT B

                                     Blackline




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. __132


                        ORDER ESTABLISHING BAR DATES FOR
                      FILING PROOFS OF CLAIM AND APPROVING
                     THE FORM AND MANNER OF NOTICE THEREOF

                   Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possessions (together, the “Debtors”), pursuant to sections 501, 502, and 1111(a) of the

Bankruptcy Code, Bankruptcy Rules 2002 and 3003(c)(3), and Local Rule 2002-1(e), for entry of

an order establishing deadlines for filing Proofs of Claim against the Debtors in these chapter 11

cases and approving the form and manner of notice thereof; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012; and it appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b);

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this

Court having found that it may enter a final order consistent with Article III of the United States

Constitution; and due and proper notice of the Motion and the hearing thereon having been given


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
      Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
      Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them in the
      Motion.
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as set forth in the Motion; and such notice having been adequate and appropriate under the

circumstances, and it appearing that no other or further notice need be provided; and this Court

having reviewed the Motion; and this Court having held a hearing to consider the relief requested

in the Motion (the “Hearing”), if any; and upon the First Day Declaration and the record of the

Hearing; and it appearing that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and it appearing that the relief requested in the Motion is in

the best interests of the Debtors, their estates, creditors, and all parties in interest; and after due

deliberation and sufficient cause appearing therefor,

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      Each person or entity, including, without limitation, each individual,

partnership, joint venture, corporation, limited liability company, estate, trust, or governmental

unit (as defined in section 101(27) of the Bankruptcy Code) that holds or asserts a claim, as

defined in section 101(5) of the Bankruptcy Code, against any of the Debtors shall file a separate

Proof of Claim in the bankruptcy case of each Debtor against which a claim is asserted;

provided, however, that the Debtors may agree in writing to permit a claimant to file a Proof of

Claim asserting a claim against more than one Debtor, if such Proof of Claim clearly identifies

the Debtors and liability of each.

                3.      A Proof of Claim shall be filed by the holder of the claim (the “Creditor”)

or an authorized representative of the Creditor. Any Proof of Claim submitted by an authorized

representative of the Creditor shall state the basis for such authorization. Any person seeking to

file a Proof of Claim on behalf of a Creditor without express written authorization shall seek

authorization from this Court prior to the applicable Bar Date.



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               4.      General Bar Date. Except as otherwise provided herein, any person and

entity (excluding any governmental unit) asserting a claim against the Debtors in these chapter

11 cases shall file a completed and executed Proof of Claim, substantially in the form attached to

the Motion as Exhibit C, so that it is received, as provided in paragraphs 8 and 9 below, by KCC

on or before the General Bar Date to be designated by the Debtors, which shall be the date that is

no earlier than the date that is thirty (30) calendar days after the date on which the Debtors

actually serve the Bar Date Notice and Proof of Claim form, which shall be no earlier than the

first business day following the later of (a) the date the Debtors file their schedules of assets and

liabilities and statements of financial affairs (collectively, the “Schedules”) with this Court, and

(b) the date of entry of this Order. The Debtors shall include the designated General Bar Date in

the Bar Date Notice and shall file the Bar Date Notice making the designated General Bar Date a

matter of record. The Debtors are authorized, but not required, to agree, after consultation with

the official committee of unsecured creditors, if one is appointedOfficial Committee of

Unsecured Creditors (the “Committee”), to extend the Bar Date for any claimant by written

stipulation filed with this Court in advance of the General Bar Date.

               5.      Governmental Unit Bar Date. All governmental units (as defined in

section 101(27) of the Bankruptcy Code) asserting claims against one or more of the Debtors

shall file completed and executed Proofs of Claim, substantially in the form attached to the

Motion as Exhibit C, so they are received, as provided in paragraphs 8 and 9 below, by KCC on

or before 4:00 p.m. (prevailing Eastern Time) on February 3, 2024.

               6.      Amended Schedule Bar Date. If, on or after the date on which the

Debtors serve the Bar Date Notice, the Debtors amend or supplement their Schedules to (a)

change the amount, nature, classification, or characterization of a claim, or (b) add a new claim



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to the Schedules and the affected claimant does not agree with the amount, nature, classification,

or characterization of such claim, then the affected claimant shall file a completed and executed

Proof of Claim, substantially in the form attached to the Motion as Exhibit C, or amend any

previously-filed Proof of Claim in respect of the amended scheduled claim in accordance with

the procedures described herein so that it is received, as provided in paragraphs 8 and 9 below,

by KCC on or before the later of (y) the General Bar Date or (z) twenty-one (21) days after the

claimant is served with notice of the applicable amendment or supplement to the Schedules. If

the Debtors amend their Schedules with respect to the claim of a governmental unit, the affected

governmental unit shall be permitted to dispute the amount, nature, classification, or

characterization of the scheduled claim by filing with KCC a completed and executed Proof of

Claim, substantially in the form attached to the Motion as Exhibit C, on or before the later of (a)

the Governmental Unit Bar Date or (b) twenty-one (21) days after the governmental unit is

served with notice of the applicable amendment or supplement to the Schedules.

               7.      Rejection Bar Date.       In the event that the Debtors reject executory

contracts or unexpired leases pursuant to section 365 of the Bankruptcy Code, to the extent filed,

completed and executed Proofs of Claim, substantially in the form attached to the Motion as

Exhibit C, shall be filed in connection with Rejection Damages Claims so that they are received,

as provided in paragraphs 8 and 9 below, by KCC on or before the later of (a) the General Bar

Date or (b) thirty (30) days after the date of service of the Court order authorizing such rejection;

provided, that persons or entities asserting claims with respect to contracts or leases that are not

Rejection Damages Claims must file Proofs of Claim on account of such claims by the General

Bar Date.




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               8.     Proofs of Claim must be sent (a) by first-class mail, overnight courier, or

hand-delivery to KCC at Proterra Claims Processing Center, c/o KCC, 222 N. Pacific Coast

Highway, Suite 300, El Segundo, CA 90245 or (b) electronically by submitting a Proof of Claim

through KCC’s website, www.kccllc.net/proterra.

               9.     Proofs of Claim mailed or delivered to KCC, or submitted electronically

through KCC’s website, will be deemed timely filed only if actually received by KCC on or

before the Bar Date associated with such claim at the address listed in paragraph 8 above.

               10.    Except as set forth in paragraphs 8 and 9 above, KCC shall not accept

Proofs of Claim by facsimile, telecopy, email, or other electronic submission, and Proofs of

Claim submitted by such means shall not be deemed timely filed.

               11.    The following persons or entities are not required to file Proofs of Claim:

                      a)      any person or entity that has already properly filed a Proof of
                              Claim against the correct Debtor(s) with either KCC or the Clerk
                              of the Court for the United States Bankruptcy Court for the District
                              of Delaware;

                      b)      any person or entity: (i) whose claim is listed in the Schedules or
                              any amendments thereto; (ii) whose claim is not described therein
                              as “disputed,” “contingent,” or “unliquidated”; (iii) who does not
                              dispute the amount or characterization of its claim as set forth in
                              the Schedules; and (iv) who agrees that the claim is an obligation
                              of the specific Debtor that listed the claim on its Schedules.

                      c)      professionals retained by the Debtors or the Official Committee of
                              Unsecured Creditors, if one is appointed, pursuant to orders of this
                              Court that assert administrative claims for fees and expenses
                              subject to this Court’s approval pursuant to sections 330, 331, and
                              503(b) of the Bankruptcy Code;

                      d)      any person or entity that asserts an administrative expense claim
                              against the Debtors pursuant to section 503(b) of the Bankruptcy
                              Code; provided, however, that any person or entity that asserts a
                              claim under section 503(b)(9) of the Bankruptcy Code on account
                              of prepetition goods received by the Debtors within twenty (20)



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                                  days prior to the Petition Date must file a Proof of Claim on or
                                  before the General Bar Date;

                         e)       current officers and directors of the Debtors who assert claims for
                                  indemnification and/or contribution arising as a result of such
                                  officers’ or directors’ prepetition or post-petition services to the
                                  Debtors;

                         f)       any Debtor asserting a claim against another Debtor;

                         g)       any person or entity whose claim against the Debtor(s) has been
                                  allowed by an order of this Court, entered on or before the Bar
                                  Dates;

                         h)       any person or entity who has been exempted from the requirement
                                  to file a Proof of Claim by another order entered in these chapter
                                  11 cases;

                         i)       any person or entity whose claim has been satisfied in full prior to
                                  the applicable Bar Date;

                         j)       any person or entity holding a claim payable to the Court or to the
                                  Office of the United States Trustee for the District of Delaware
                                  (the “U.S. Trustee”) pursuant to 28 U.S.C. § 1930;

                         k)       any holder of a claim arising under or in connection with the (i)
                                  First Lien Credit Facility (as defined in the First Day Declaration),
                                  provided that the First Lien Agent (as defined in the First Day
                                  Declaration) is authorized to file a single master Proof of Claim by
                                  the General Bar Date with regard to all of the claims thereunder
                                  and (ii) Second Lien Convertible Notes (as defined in the First Day
                                  Declaration), provided that the Second Lien Agent (as defined in
                                  the First Day Declaration) is authorized to file a single master
                                  Proof of Claim by the General Bar Date with regard to all of the
                                  claims thereunder;3 and

                         l)       any holder of a claim relating to self-funded insurance plans; and

                         m)       l) any holder of a claim for any fees, expenses, or other obligations
                                  arising under any interim or final order approving the Debtors’ use
                                  of cash collateral or access to postpetition financing (if any).




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    For the avoidance of doubt, nothing in the Motion or this Order shall be deemed to allow, or constitute the
    Debtors’ consent to, any portion of any claim, including any premium asserted by the Second Lien Agent or any
    holders of Second Lien Convertible Notes.

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               12.     Any Interest Holder, whose interest is based exclusively upon the

ownership of common stock in a corporation or other equity securities (as defined in section

101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell, or subscribe to such a

security or interest (collectively, an “Interest”) need not file a proof of interest on or before the

General Bar Date; provided, that Interest Holders who wish to assert claims against the Debtors

that arise out of or relate to the ownership or purchase of an Interest, including claims arising out

of or relating to the sale, issuance, or distribution of such Interest, must file Proofs of Claim on

or before the General Bar Date, unless one of the exceptions contained in paragraph 11 above

applies.

               13.     Unless otherwise agreed by the Debtors in writing, any entity asserting

claims against more than one Debtor must file a separate Proof of Claim with respect to each

such Debtor on or before the applicable Bar Date. In addition, any entity filing a Proof of Claim

must identify on its Proof of Claim the particular Debtor against which its claim is asserted.

               14.     Notwithstanding anything to the contrary in this Order, the Agents (as

defined in the First Day Declaration) are authorized to file a master Proof of Claim (a “Master

Proof of Claim”) on behalf of itself and any or all holders (each, a “Debt Claim Holder”) of

claims under the applicable funded debt documents (collectively, the “Debt Claims”), provided

that nothing herein shall waive the right of any Prepetition First Lien Secured Party (as defined in

the First Day Declaration) or Prepetition Second Lien Secured Party (as defined in the First Day

Declaration) to file its own Proofs of Claim against the Debtors. Any such Master Proof of

Claim shall have the same effect as if each applicable Debt Claim Holder had individually filed a

Proof of Claim against each applicable Debtor on account of such Debt Claim Holder’s Debt

Claim. The Agents shall further be authorized to amend, supplement, or otherwise modify such


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Master Proof of Claim from time to time, to the extent permitted by applicable law. The Agents

shall not be required to file with a Master Proof of Claim any instruments, agreement, or other

documents evidencing the obligations referenced in such Master Proof of Claim, which

instruments, agreements, or other documents will be provided upon written request by counsel to

the Debtors to counsel for each of the Agents. For administrative convenience, any Master Proof

of Claim authorized herein may be filed in the case of Debtor Proterra Inc, Case No. 23-11120

(BLS) (the “Lead Case”), with respect to all amounts asserted in such Master Proof of Claim,

and such Master Proof of Claim shall be deemed to be filed and asserted by the applicable entity

or entities against every Debtor that is liable for the applicable claim so long as such authorized

Master Proof of Claim sets forth in reasonable detail the basis for such claim and the amount

asserted against each applicable Debtor.       No authorized Master Proof of Claim shall be

disallowed, reduced, or expunged on the basis that it is filed only in the Lead Case. For the

avoidance of doubt, the provisions set forth in this paragraph 14 and any Master Proof of Claim

filed pursuant to the terms hereof are intended solely for the purpose of administrative

convenience and shall not affect the substantive rights of any party in interest or their respective

successors in interest, including, without limitation, the rights of the Agents or any Debt Claim

Holder as holders of a Debt Claim against the Debtors under applicable law, and the numerosity

requirements set forth in section 1126 of the Bankruptcy Code.

               15.     Any person or entity that is required to file a timely Proof of Claim in the

form and manner specified by this Order and who fails to do so on or before the Bar Date

associated with such claim: (a) shallmay be forever barred, estopped, and enjoined from

asserting such claim against the Debtors, their estates, or property of the Debtors, or thereafter

filing a Proof of Claim with respect thereto in these chapter 11 cases, unless otherwise ordered


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by this Court; (b) shallmay not, with respect to such claim, be treated as a Creditor of the Debtors

for the purposes of voting upon any plan in these proceedings; and (c) shallmay not receive or be

entitled to receive any payment or distribution of property from the Debtors or their successors or

assigns with respect to such claim, without further order of this Court; provided, however, that a

claimant shall be able to vote upon, and receive distributions under, any plan of reorganization or

liquidation in the chapter 11 cases to the extent, and in such amount, as any undisputed,

non-contingent, and liquidated claims identified in the Schedules on behalf of the claimant.

               16.     The Bar Date Notice, substantially in the form attached to the Motion as

Exhibit B, and the Proof of Claim form, substantially in the form attached to the Motion as

Exhibit C, are hereby approved in all respects.

               17.     The Bar Date Notice shall be deemed good, adequate, and sufficient notice

of the relief granted by this Order to all known Creditors of the Debtors if it is served, together

with the Proof of Claim form, by first-class U.S. mail, postage prepaid, no later than thirty (30)

days before the General Bar Date, to (a) all persons and entities (and their counsel if known)

known by the Debtors to be holding potential claims or interests in the Debtors, (b) all parties

that have requested notice in these chapter 11 cases, (c) all persons or entities listed in the

Schedules, (d) all parties to executory contracts and unexpired leases with the Debtors, (e) all

parties to litigation with the Debtors, (f) all parties that have already filed a Proof of Claim

against the Debtors, (g) all taxing authorities for the jurisdictions in which the Debtors do

business, (h) all governmental units that may have claims against the Debtors, and (i) the U.S.

Trustee.

               18.     The Debtors shall publish the Publication Notice, substantially in the form

attached to the Motion as Exhibit D, in the national edition of The New York Times, at least once


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no later than twenty-one (21) days prior to the General Bar Date, which Publication Notice is

hereby approved in all respects and which shall be deemed good, adequate, and sufficient notice

of the Bar Dates by publication.

               19.     The Debtors are authorized to make supplemental mailings of the Bar

Date Notice and Proof of Claim form, which supplemental mailings being deemed timely and the

applicable Bar Dates being applicable to the recipient parties in interest, including in the event

that: (a) notices are returned by the post office with forwarding addresses; (b) certain parties

acting on behalf of parties in interest decline to pass along notices to these parties and instead

return their names and addresses to the Debtors for direct mailing; and (c), and the Debtors mail

notices to such parties in interest and such parties in interest receive at least twenty-one (21)

days’ notice; and (c) there are additional potential claimants and such claimants receive at least

twenty-one (21) days’ notice; provided, that to the extent any notices are returned as “return to

sender” without a forwarding address, the Debtors are not required to mail additional notices to

such parties in interest if (i) such party in interest is not a “Schedule D” or Schedule E/F”

claimant or (ii) after conducting a reasonable search for a new address, the Debtors are unable to

locate such new address.

               20.     Notwithstanding anything in this Order, nothing herein shall prejudice any

entity from seeking to extend the time to file a Proof of Claim “for cause shown” under

Bankruptcy Rule 3003(c)(3) or raising the defense of “excusable neglect” within the meaning of

Bankruptcy Rule 9006(b).

               21.     Nothing in this Order shall prejudice the right of the Debtors or any other

party in interest herein to dispute, or to assert offsets or defenses to, any claim reflected in the




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Schedules as to amount, liability, characterization, or otherwise, and to subsequently designate

any claim as disputed, contingent, or unliquidated.

                22.     The Debtors are authorized to make non-substantive changes to the

exhibits to the Motion without further order of this Court, including without limitation, changes

to (a) correct typographical and grammatical errors, (b) update references to cited pleadings and

orders, and (c) conform changes among this Order, the exhibits, and any other related materials

prior to their mailing to parties in interest.

                23.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

                24.     This Court retains jurisdiction with respect to all matters arising from or

related to the interpretation, implementation, and enforcement of this Order.




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                      EXHIBIT B

                     Bar Date Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. __

                             NOTICE OF ENTRY OF BAR
                            DATE ORDER ESTABLISHING
                          DEADLINES FOR FILING PROOFS
             OF CLAIM (INCLUDING FOR CLAIMS ASSERTED UNDER
       SECTION 503(b)(9) OF THE BANKRUPTCY CODE) AGAINST THE DEBTORS

TO:          ALL HOLDERS OF POTENTIAL CLAIMS AGAINST THE DEBTORS

PLEASE TAKE NOTICE THAT:

               On August 7, 2023 (the “Petition Date”), the above-captioned debtors and debtors
in possession (together, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Court”).

               Please take further notice that on [●], 2023, the Court entered an order (the “Bar
Date Order”)2 establishing deadlines to file proofs of claim for all potential claims (as defined
below), including claims arising pursuant to section 503(b)(9) (each, a “503(b)(9) Claim”) of the
Bankruptcy Code against the Debtors that arose prior to the Petition Date.

                                                    Bar Dates
    General Bar Date                     [●], 2023 at 4:00 p.m. (prevailing Eastern Time)
    Governmental Unit Bar Date           February 3, 2024 at 4:00 p.m. (prevailing Eastern Time)
    Amended Schedules Bar                the later of (y) the General Bar Date or (z) twenty-one (21)
    Date                                 days after the claimant is served with notice of the applicable
                                         amendment or supplement to the Schedules


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
      Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
      Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them below
      or in the Bar Date Order.
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    Rejection Bar Datethe later of (a) the General Bar Date or (b) thirty (30) days after
                      the date of service of the Court order authorizing such
                      rejection
           ANY PERSON OR ENTITY THAT IS REQUIRED TO FILE A TIMELY
PROOF OF CLAIM IN THE FORM AND MANNER SPECIFIED BY THE BAR DATE
ORDER AND WHO FAILS TO DO SO ON OR BEFORE THE APPLICABLE BAR
DATE: (A) SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH CLAIM AGAINST THE DEBTORS, THEIR ESTATES, OR
PROPERTY OF THE DEBTORS, OR THEREAFTER FILING A PROOF OF CLAIM
WITH RESPECT THERETO IN THE CHAPTER 11 CASES; (B) SHALL NOT, WITH
RESPECT TO SUCH CLAIM, BE TREATED AS A CREDITOR OF THE DEBTORS
FOR THE PURPOSES OF VOTING UPON ANY PLAN OF REORGANIZATION OR
LIQUIDATION IN THESE PROCEEDINGS; AND (C) SHALL NOT RECEIVE OR BE
ENTITLED TO RECEIVE ANY PAYMENT OR DISTRIBUTION OF PROPERTY
FROM THE DEBTORS OR THEIR SUCCESSORS OR ASSIGNS WITH RESPECT TO
SUCH CLAIM; PROVIDED, HOWEVER, THAT A CLAIMANT SHALL BE ABLE TO
VOTE UPON, AND RECEIVE DISTRIBUTIONS UNDER, ANY PLAN OF
REORGANIZATION OR LIQUIDATION IN THESE CHAPTER 11 CASES TO THE
EXTENT, AND IN SUCH AMOUNT, AS ANY UNDISPUTED, NON-CONTINGENT,
AND LIQUIDATED CLAIMS IDENTIFIED IN THE SCHEDULES ON BEHALF OF
THE CLAIMANT.

                You should not file a Proof of Claim if you do not have a claim against the
Debtors. Your receipt of this notice (this “Notice”) does not necessarily mean that you have a
claim or that either the Debtors or the Court believe you have a claim.

                Pursuant to the terms of the Bar Date Order, and except as otherwise provided
herein, each person or entity3 (including, without limitation, each individual, partnership, joint
venture, corporation, limited liability company, estate, trust, or Governmental Unit4) that holds or
asserts a claim against one or more of the Debtors (including 503(b)(9) Claims) must file a Proof
of Claim with an original signature, substantially conforming to the proof of claim form attached
hereto, so that it is actually received by Kurtzman Carson Consultants LLC (“KCC”), the
Court-approved claims and noticing agent in these chapter 11 cases, on or before the Bar Dates
set forth below. Proofs of Claim must be sent by first-class mail, overnight courier, or
hand-delivery to:

                                    Proterra Claims Processing Center
                                                  c/o KCC
                                  222 N. Pacific Coast Highway, Suite 300
                                          El Segundo, CA 90245




3
      “Entity” has the meaning given to it in section 101(15) of the Bankruptcy Code.
4
      “Governmental Unit” has the meaning given to it in section 101(27) of the Bankruptcy Code.

                                                          2
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                Alternatively, Proofs of Claim may be submitted electronically through the
electronic filing system available at www.kccllc.net/proterra.

               To be properly filed, a Proof of Claim must be filed against the specific Debtor
against which the claimant holds or asserts a claim. For example, if a claimant holds or asserts a
claim against Proterra Inc, the Proof of Claim must specify Proterra Inc. If a claimant wishes to
assert a claim against both Debtors, separate Proofs of Claim must be filed against each
applicable Debtor.

                Proofs of Claim will be deemed timely filed only if actually received by KCC on
or before the Bar Date associated with such claim. Further, except with respect to the electronic
filing system described above, KCC will not accept Proofs of Claim sent by facsimile, telecopy,
email, or other electronic submission, and such claims will not be deemed to be properly or
timely filed claims.

              General Bar Date. Except as otherwise provided herein, each person or
entity holding or asserting a claim (including a 503(b)(9) Claim) against the Debtors that
arose prior to the Petition Date must file a Proof of Claim so that it is actually received by
KCC on or before [●], 2023 at 4:00 p.m. (prevailing Eastern Time) (the “General Bar
Date”).

                Governmental Unit Bar Date. Each governmental unit holding or asserting a
claim against the Debtors that arose prior to the Petition Date must file a Proof of Claim so
that it is actually received by KCC on or before February 3, 2024 at 4:00 p.m. (prevailing
Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date,
the “Bar Dates”).

                Amended Schedules Bar Date. If, on or after the date on which the Debtors serve
this Notice, the Debtors amend or supplement their schedules of assets and liabilities or
statements of financial affairs (collectively, the “Schedules”) (a) to change the amount, nature,
classification, or characterization of a claim, or (b) to add a new claim to the Schedules and the
affected claimant does not agree with the amount, nature, classification, or characterization of
such claim, the affected claimant is required to file a Proof of Claim or amend any previously
filed Proof of Claim in respect of the amended scheduled claim so that the Proof of Claim is
actually received by KCC on or before the later of (y) the General Bar Date or (z) twenty-one
(21) days after the claimant is served with notice of the applicable amendment or supplement to
the Schedules.

                Rejection Bar Date. A Proof of Claim relating to the Debtors’ rejection of an
executory contract or unexpired lease pursuant to a Court order must be filed so that it is actually
received by KCC on or before the later of (a) the General Bar Date or (b) thirty (30) days after
the date of service of the Court order authorizing such rejection.

               For purposes of the Bar Date Order and this Notice, and pursuant to section
101(5) of the Bankruptcy Code, the term “claim” means: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an

                                                 3
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equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, or unsecured as of the Petition Date.

               For purposes of the Bar Date Order and this Notice, a “503(b)(9) Claim” is a
claim for the value of any goods received by the Debtors within twenty (20) days prior to the
Petition Date in which the goods have been sold to the Debtors in the ordinary course of the
Debtors’ business.

              The following persons and entities need NOT file a Proof of Claim:

              a)     any person or entity that has already properly filed a Proof of Claim
                     against the correct Debtor(s) with either KCC or the Clerk of the Court for
                     the United States Bankruptcy Court for the District of Delaware;

              b)     any person or entity (i) whose claim is listed in the Schedules or any
                     amendments thereto; (ii) whose claim is not described therein as
                     “disputed,” “contingent,” or “unliquidated”; (iii) who does not dispute the
                     amount or characterization of its claim as set forth in the Schedules; and
                     (iv) who agrees that the claim is an obligation of the specific Debtor that
                     listed the claim on its Schedules;

              c)     professionals retained by the Debtors or the Official Committee of
                     Unsecured Creditors, if one is appointed, pursuant to orders of this Court
                     that assert administrative claims for fees and expenses subject to this
                     Court’s approval pursuant to sections 330, 331, and 503(b) of the
                     Bankruptcy Code;

              d)     any person or entity that asserts an administrative expense claim against
                     the Debtors pursuant to section 503(b) of the Bankruptcy Code; provided,
                     however, that any person or entity that has a claim under section 503(b)(9)
                     of the Bankruptcy Code on account of prepetition goods received by the
                     Debtors within twenty (20) days prior to the Petition Date must file a
                     Proof of Claim on or before the General Bar Date;

              e)     current officers and directors of the Debtors who assert claims for
                     indemnification and/or contribution arising as a result of such officers’ or
                     directors’ prepetition or post-petition services to the Debtors;

              f)     any Debtor asserting a claim against another Debtor;

              g)     any person or entity whose claim against the Debtor(s) has been allowed
                     by an order of the Court, entered on or before the Bar Dates;

              h)     any person or entity who has been exempted from the requirement to file a
                     proof of claim by another order entered in the chapter 11 cases;



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                 i)       any person or entity whose claim has been satisfied in full prior to the
                          applicable Bar Date;

                 j)       any person or entity holding a claim payable to the Office of the United
                          States Trustee for the District of Delaware pursuant to 28 U.S.C. § 1930;

                 k)       any holder of a claim arising under or in connection with the (i) First Lien
                          Credit Facility (as defined in the First Day Declaration), provided that the
                          First Lien Agent (as defined in the First Day Declaration) is authorized to
                          file a single master Proof of Claim by the General Bar Date with regard to
                          all of the claims thereunder and (ii) Second Lien Convertible Notes (as
                          defined in the First Day Declaration), provided that the Second Lien
                          Agent (as defined in the First Day Declaration) is authorized to file a
                          single master Proof of Claim by the General Bar Date with regard to all of
                          the claims thereunder;5 and

                 l)       any holder of a claim relating to self-funded insurance plans; and

                 m)       l) any holder of a claim for any fees, expenses, or other obligations arising
                          under any interim or final order approving the Debtors’ use of cash
                          collateral or access to postpetition financing (if any).

                Any person or entity (including, without limitation, any individual, partnership,
joint venture, corporation, limited liability company, estate, trust, or governmental unit) holding
an interest in the Debtors (an “Interest Holder”), which interest is based exclusively upon the
ownership of common or preferred stock in the corporation or other equity security (as defined in
section 101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell, or subscribe to
such a security (any such security being referred to in this Notice as an “Interest”) need not file a
proof of interest on or before the General Bar Date; provided, however, that Interest Holders who
wish to assert claims against the Debtors that arise out of or relate to the ownership or purchase
of an Interest, including claims arising out of or relating to the sale, issuance, or distribution of
such Interest, must file Proofs of Claim on or before the General Bar Date (or, in the case of a
governmental unit, the Governmental Bar Date), unless another exception identified in the Bar
Date Order applies.

                The Debtors reserve the right to: (a) dispute or assert offsets or defenses against
any claim filed or any claim listed or reflected in the Schedules as to nature, amount, liability,
classification, or otherwise; and (b) subsequently designate any claim as disputed, contingent, or
unliquidated. Nothing contained in this Notice shall preclude the Debtors from objecting to any
claim on any grounds.

              Acts or omissions of the Debtors, if any, that occurred prior to the Petition Date,
including acts or omissions related to any indemnity agreements, guarantees, or services

5
    For the avoidance of doubt, nothing in the Bar Date Order shall be deemed to allow, or constitute the Debtors’
    consent to, any position of any claim, including any premium asserted by the Second Lien Agent or any holders
    of Second Lien Convertible Notes.

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provided to or rendered by the Debtors, may give rise to claims against the Debtors
notwithstanding that such claims (or any injuries on which they are based) may be contingent or
may not have matured or become fixed or liquidated prior to the Petition Date. Therefore, any
person or entity that holds or asserts a claim or a potential claim against the Debtors, no matter
how remote or contingent, must file a Proof of Claim on or before the applicable Bar Date.

                You may be listed as the holder of a claim against the Debtors in the Schedules,
as the same may be amended from time to time. If you hold or assert a claim that is not listed in
the Schedules or if you disagree with the amount or priority of your claim as listed in the
Schedules, or your claim is listed in the Schedules as “contingent,” “unliquidated,” or
“disputed,” you must file a Proof of Claim. Copies of the Schedules and the Bar Date Order are
available for inspection during regular business hours at the office of the Clerk of the Bankruptcy
Court, United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market
Street, Wilmington, Delaware 19801. In addition, copies of the Debtors’ Schedules and Bar
Date Order may be viewed and downloaded free of charge at KCC’s dedicated website for the
Debtors’ chapter 11 cases (www.kccllc.net/proterra); or viewed and downloaded for a fee at the
Bankruptcy Court’s website (http://www.deb.uscourts.gov/) by following the directions for
accessing the ECF system on such website.


                           [Remainder of page intentionally left blank]




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               Questions concerning the contents of this Notice, the Bar Date Order, and
requests for Proofs of Claim should be directed to KCC’s toll-free lines at 888-251-3076 (USA
or Canada); 310-751-2617 (International), or by submitting an inquiry at
www.kccllc.net/proterra/inquiry. Please note that KCC’s staff is not permitted to give legal
advice. You should consult your own attorney for assistance regarding any other inquiries, such
as questions concerning the completion or filing of a Proof of Claim. Nothing contained in this
Notice shall preclude the Debtors from objecting to any filed claim on any grounds.

 Dated: [•], 2023                         Respectfully submitted,
        Wilmington, Delaware
                                          YOUNG CONAWAY STARGATT &
                                          TAYLOR, LLP

                                          /s/ [DRAFT]
                                          Pauline K. Morgan (No. 3650)
                                          Andrew L. Magaziner (No. 5426)
                                          Shella Borovinskaya (No. 6758)
                                          Rodney Square
                                          1000 North King Street
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 571-6600
                                          Facsimile: (302) 571-1253
                                          Email: pmorgan@ycst.com
                                                  amagaziner@ycst.com
                                                  sborovinskaya@ycst.com

                                                   - and -

                                          PAUL, WEISS, RIFKIND,
                                          WHARTON & GARRISON LLP
                                          Paul M. Basta (admitted pro hac vice)
                                          Robert A. Britton (admitted pro hac vice)
                                          Michael J. Colarossi (admitted pro hac vice)
                                          1285 Avenue of the Americas
                                          New York, New York 10019
                                          Tel: (212) 373-3000
                                          Fax: (212) 757-3990
                                                 Email: pbasta@paulweiss.com
                                                         rbritton@paulweiss.com
                                                         mcolarossi@paulweiss.com

                                          [Proposed] Counsel to the Debtors and
                                          Debtors in Possession




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                        EXHIBIT C

                    Proof of Claim Form

                    [Intentionally Omitted]
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                      EXHIBIT D

                    Publication Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    PROTERRA INC, et al.,1                                            ) Case No. 23-11120 (BLS)
                                                                      )
                              Debtors.                                ) (Jointly Administered)
                                                                      )
                                                                      )

                             NOTICE OF ENTRY OF BAR
                            DATE ORDER ESTABLISHING
                          DEADLINES FOR FILING PROOFS
             OF CLAIM (INCLUDING FOR CLAIMS ASSERTED UNDER
       SECTION 503(b)(9) OF THE BANKRUPTCY CODE) AGAINST THE DEBTORS

PLEASE TAKE NOTICE THAT:

               On August 7, 2023 (the “Petition Date”), the above-captioned debtors and debtors
in possession (together, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Court”).

               Please take further notice that on [●], 2023, the Court entered an order (the “Bar
                 2
Date Order”) establishing deadlines to file proofs of claim for all potential claims (as defined
below), including claims arising pursuant to section 503(b)(9) (each, a “503(b)(9) Claim”) of the
Bankruptcy Code against the Debtors that arose prior to the Petition Date.

                                                     Bar Dates
    General Bar Date                     [●], 2023 at 4:00 p.m. (prevailing Eastern Time)
    Governmental Unit Bar Date           February 3, 2024 at 4:00 p.m. (prevailing Eastern Time)
    Amended Schedules Bar                the later of (y) the General Bar Date or (z) twenty-one (21)
    Date                                 days after the claimant is served with notice of the applicable
                                         amendment or supplement to the Schedules
    Rejection Bar Date                   the later of (a) the General Bar Date or (b) thirty (30) days after
                                         the date of service of the Court order authorizing such


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
      Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
2
      Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them below
      or in the Bar Date Order.
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                                 rejection


           ANY PERSON OR ENTITY THAT IS REQUIRED TO FILE A TIMELY
PROOF OF CLAIM IN THE FORM AND MANNER SPECIFIED BY THE BAR DATE
ORDER AND WHO FAILS TO DO SO ON OR BEFORE THE APPLICABLE BAR
DATE: (A) SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH CLAIM AGAINST THE DEBTORS, THEIR ESTATES, OR
PROPERTY OF THE DEBTORS, OR THEREAFTER FILING A PROOF OF CLAIM
WITH RESPECT THERETO IN THE CHAPTER 11 CASES; (B) SHALL NOT, WITH
RESPECT TO SUCH CLAIM, BE TREATED AS A CREDITOR OF THE DEBTORS
FOR THE PURPOSES OF VOTING UPON ANY PLAN OF REORGANIZATION OR
LIQUIDATION IN THESE PROCEEDINGS; AND (C) SHALL NOT RECEIVE OR BE
ENTITLED TO RECEIVE ANY PAYMENT OR DISTRIBUTION OF PROPERTY
FROM THE DEBTORS OR THEIR SUCCESSORS OR ASSIGNS WITH RESPECT TO
SUCH CLAIM; PROVIDED, HOWEVER, THAT A CLAIMANT SHALL BE ABLE TO
VOTE UPON, AND RECEIVE DISTRIBUTIONS UNDER, ANY PLAN OF
REORGANIZATION OR LIQUIDATION IN THESE CHAPTER 11 CASES TO THE
EXTENT, AND IN SUCH AMOUNT, AS ANY UNDISPUTED, NON-CONTINGENT,
AND LIQUIDATED CLAIMS IDENTIFIED IN THE SCHEDULES ON BEHALF OF
THE CLAIMANT.

               Pursuant to the terms of the Bar Date Order, and except as otherwise provided
herein, each person or entity that holds or asserts a claim against the Debtors (including claims
arising under section 503(b)(9) of the Bankruptcy Code) must file a Proof of Claim with original
signature, substantially conforming to the proof of claim form available on
www.kccllc.net/proterra, so that it is actually received by Kurtzman Carson Consultants LLC
(“KCC”), the Court-approved claims and noticing agent in these chapter 11 cases, on or before
the Bar Dates set forth below. Proofs of Claim must be sent by first-class mail, overnight
courier, or hand-delivery to:

                             Proterra Claims Processing Center
                                           c/o KCC
                           222 N. Pacific Coast Highway, Suite 300
                                   El Segundo, CA 90245

                Alternatively, Proofs of Claim may be submitted electronically through the
electronic filing system available at www.kccllc.net/proterra.

                To be properly filed, a Proof of Claim must be filed against the specific Debtor
against which the claimant holds or asserts a claim. For example, if a claimant holds or asserts a
claim against Proterra Inc), the Proof of Claim must specify Proterra Inc. If a claimant wishes to
assert a claim against more than one Debtor, separate Proofs of Claim must be filed against each
applicable Debtor.

               Proofs of claim will be deemed timely filed only if actually received by KCC on
or before the Bar Date associated with such claim. Further, except with respect to the electronic

                                                2
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filing system described above, KCC will not accept Proofs of Claim sent by facsimile, telecopy,
email, or other electronic submission, and such claims will not be deemed to be properly or
timely filed claims.

              General Bar Date. Except as otherwise provided herein, each person or
entity holding or asserting a claim (including a 503(b)(9) Claim) against the Debtors that
arose prior to the Petition Date must file a Proof of Claim so that it is actually received by
KCC on or before [●], 2023 at 4:00 p.m. (prevailing Eastern Time) (the “General Bar
Date”).

                Governmental Unit Bar Date. Each governmental unit holding or asserting a
claim against the Debtors that arose prior to the Petition Date must file a Proof of Claim so
that it is actually received by KCC on or before February 3, 2024 at 4:00 p.m. (prevailing
Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date,
the “Bar Dates”).

                 Amended Schedules Bar Date. If, on or after the date on which the Debtors serve
this notice (this “Notice”), the Debtors amend or supplement their schedules of assets and
liabilities or statements of financial affairs (collectively, the “Schedules”) (a) to change the
amount, nature, classification, or characterization of a claim, or (b) to add a new claim to the
Schedules and the affected claimant does not agree with the amount, nature, classification, or
characterization of such claim, the affected claimant is required to file a Proof of Claim or amend
any previously filed Proof of Claim in respect of the amended scheduled claim so that the Proof
of Claim is actually received by KCC on or before the later of (y) the General Bar Date or (z)
twenty-one (21) days after the claimant is served with notice of the applicable amendment or
supplement to the Schedules.

                Rejection Bar Date. A Proof of Claim relating to the Debtors’ rejection of an
executory contract or unexpired lease pursuant to a Court order must be filed so that it is actually
received by KCC on or before the later of (a) the General Bar Date or (b) thirty (30) days after
the date of service of the Court order authorizing such rejection.

               For purposes of the Bar Date Order and this Notice, and pursuant to section
101(5) of the Bankruptcy Code, the term “claim” means: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, or unsecured as of the Petition Date.
Further, a “503(b)(9) Claim” is a claim for the value of any goods received by the Debtors within
twenty (20) days prior to the Petition Date in which the goods have been sold to the Debtors in
the ordinary course of the Debtors’ business.

                Any person or entity (including, without limitation, any individual, partnership,
joint venture, corporation, limited liability company, estate, trust, or governmental unit) holding
an interest in the Debtors (an “Interest Holder”), which interest is based exclusively upon the
ownership of common or preferred stock in the corporation or other equity security (as defined in
section 101(16) of the Bankruptcy Code), or warrants or rights to purchase, sell or subscribe to
                                                 3
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such a security (any such security being referred to in this Notice as an “Interest”), need not file a
proof of interest on or before the General Bar Date; provided, however, that Interest Holders who
wish to assert claims against the Debtors that arise out of or relate to the ownership or purchase
of an Interest, including claims arising out of or relating to the sale, issuance, or distribution of
such Interest, must file Proofs of Claim on or before the General Bar Date (or, in the case of a
governmental unit, the Governmental Bar Date), unless another exception identified in the Bar
Date Order applies.

              Acts or omissions of the Debtors, if any, that occurred prior to the Petition Date,
including acts or omissions related to any indemnity agreements, guarantees, or services
provided to or rendered by the Debtors, may give rise to claims against the Debtors
notwithstanding the fact that such claims (or any injuries on which they are based) may be
contingent or may not have matured or become fixed or liquidated prior to the Petition Date.
Therefore, any person or entity that holds or asserts a claim or a potential claim against the
Debtors, no matter how remote or contingent, must file a Proof of Claim on or before the
General Bar Date.

               Questions concerning the contents of this Notice, the Bar Date Order, and
requests for Proofs of Claim should be directed to KCC’s toll-free lines at 888-251-3076 (USA
or Canada); 310-751-2617 (International), or by submitting an inquiry at
www.kccllc.net/proterra/inquiry. Please note that KCC’s staff is not permitted to give legal
advice. You should consult your own attorney for assistance regarding any other inquiries, such
as questions concerning the completion or filing of a Proof of Claim. Nothing contained in this
Notice shall preclude the Debtors from objecting to any filed claim on any grounds.




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Dated: [•], 2023                 Respectfully submitted,
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                                 [Proposed] Counsel to the Debtors and
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